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10                                  UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12                                     SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                                Case No. 2:90-CV-00520- KJM-DB

15                   Plaintiffs,                         DEFENDANTS’ NOTICE OF FILING OF
                                                         UNMET NEEDS ASSESSMENT REPORT
16            v.

17 GAVIN NEWSOM, et al.                                  Judge:   Hon. Kimberly J. Mueller

18                   Defendants.

19

20            On September 13, 2021, this Court ordered Defendants to “undertake an assessment of

21 whether there is unmet need for inpatient care, including acute care, intermediate care, and mental

22 health crisis bed care, among members of the plaintiff class,” and to do so “under the guidance and

23 supervision of the Special Master who shall have final authority over the scope of and

24 methodology for the study.” (ECF 7305 at 15:27-16:3.) Defendants were further ordered to report

25 to the Court on the outcome of that assessment within thirty days after its completion. (Id. at 16:4-

26 5.) Defendants were subsequently ordered to file the written report with the Court by December

27 31, 2022. (ECF 7477.) That deadline has since been extended, at the request of the parties, to

28 June 30, 2023. (ECF 7680.)

     19685310.1                                      1                   Case No. 2:90-CV-00520- KJM-DB
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 1            On May 16, 2023, Defendants distributed to Plaintiffs’ counsel and the Special Master a

 2 draft of the unmet bed needs assessment (UNA) report for their review and comment. The Special

 3 Master’s team identified concerns with respect to certain referrals, and accordingly, Defendants

 4 met with members of the Special Master’s team on two occasions and subsequently provided a

 5 revised draft to the Special Master and Plaintiffs’ counsel on June 8, 2023. Both Plaintiffs’

 6 counsel and the Special Master provided written comments to the June 8, 2023 draft on June 15,

 7 2023.

 8            Attached as Exhibit A is a true and correct copy of a letter from CDCR’s Office of Legal

 9 Affairs, enclosing the following documents:

10            (1) CDCR’s 2022/23 Unmet Needs Assessment cover report (“Cover Report”), which

11 explains the background of the 2022/23 Unmet Needs Assessment and responding to written

12 comment received from the Special Master and Plaintiffs’ counsel. A true and correct copy of the

13 Cover Report is attached as Exhibit B.

14            (2) Plaintiffs’ counsel’s and the Special Master’s comments to the draft 2022/23 Unmet

15 Needs Assessment Report (included as Enclosures A through E to Exhibit B).

16            (3) The 2022/23 Unmet Needs Assessment Report, a true and correct copy of which is

17 attached as Exhibit C.

18

19 DATED: June 30, 2023                                 ROB BONTA
                                                        Attorney General of California
20

21
                                                  By:          /s/ Damon McClain
22                                                      DAMON MCCLAIN
                                                        Supervising Deputy Attorney General
23                                                      Attorneys for Defendants
24

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 1 DATED: June 30, 2023                          HANSON BRIDGETT LLP

 2

 3
                                           By:          /s/ Samantha D. Wolff
 4                                               PAUL B. MELLO
                                                 SAMANTHA D. WOLFF
 5                                               Attorneys for Defendants
 6

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     19685310.1                                   3                  Case No. 2:90-CV-00520- KJM-DB
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